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I, Erin Gaston-Owen, transcribed (and later translated) the following comments by Noé Montes Bobadilla.
The conversation occurred at the Alexandria Detention Center on September 10 between 1:15 and 2:00 pm,
and was done at the request of Attorney Eduardo Balarezo. I listened to Mr. Montes Bobadilla over the
phone, took notes on his comments, then read my notes back to him to confirm his statements. This is not a
verbatim transcript of the conversation, but based on the notes I took at the time, I believe it accurately
reflects what Mr. Montes Bobadilla wished to have put in writing.



Estimado juez,                                         Dear Judge,

Yo quiero que me entienda. Quiero cambiar de           I want you to understand me. I want to change
abogado porque la que tengo ahora no responde          attorneys because the [female] one I have now
a mis preguntas y necesito uno nuevo que me            doesn’t answer my questions and I need a new one to
explique mejor ya que yo no sé nada de las leyes       better explain [things] because I don’t know anything
de Estados Unidos.                                     about the laws of the U.S.



Estos abogados y yo no nos entendemos. A ella          These attorneys and I don’t understand each other. I
no la entiendo, casi no la entiendo, y a Jenkins       don’t understand her, I hardly understand her, and
sólo lo he visto en una ocasión y esa vez me           I’ve only seen [Mr.] Jenkins once and that time he
habló en inglés.                                       spoke to me in English.



Yo nunca tuve estudios así que prácticamente no        I never had any schooling so I hardly know anything:
sé nada, soy analfabeto. No sé leer ni escribir – ni   I’m illiterate. I don’t know how to read or write – even
en español. Aquí en la cárcel voy batallando por       in Spanish. Here in jail I’m struggling to learn to read
aprender a leer para poder leer la Biblia nada         just so I can read the Bible.
más.

No tengo confianza en mis abogados porque              I don’t have confidence in my attorneys because
cuando tengo una pregunta nunca han sabido             when I ask a question they haven’t been able to
explicarme las cosas o hablarme de mis derechos        explain things to me or talk to me about my rights
aquí en Estados Unidos. Ella no me sabe                here in the U.S. She doesn’t know how to answer me.
contestar. Ella me dice que me declare y yo le         She tells me to plead and I say, what am I going to
digo, ¿de qué voy a declararme culpable? Porque        plead guilty to? Because I don’t understand the case
yo no entiendo bien el caso, o sea, ¿qué tienen        well, you know, what do they have against me? And I
en mi contra? Y yo necesito que me explique            need to have things better explained because she
mejor porque ella no me sabe contestar cuando          doesn’t know how to answer my questions.
yo se lo pregunto.

No quiero que ellos me sigan representando. No.        I don’t want them to continue to represent me. No. I
Yo necesito otro abogado. Llevo aquí entre 11 y        need another attorney. I’ve been here between 11
12 meses y ella no me ha dicho cómo es el caso y       and 12 months and she hasn’t told me how the case
qué cosas tienen en mi contra. No me ha dicho          is going and what things they have against me. She
cómo va avanzando el caso ni qué es lo que es          hasn’t told me how the case is moving along or what
capaz de hacer por mi. Me siento igual a como el       she can do for me. I feel like I did the first day I came
primer día que me vine aquí.                           here.
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No confío en que puedan representarme                I don’t trust them to be able to adequately represent
adecuadamente y necesito contratar a otro            me and I need to hire another attorney. No new
abogado. Ningún abogado nuevo va a estar listo       attorney is going to be ready for my trial in
para mi juicio en noviembre porque no hay            November because there isn’t enough time, it’s too
suficiente tiempo, es muy poco tiempo, pero          soon, but I want to hire Mr. Balarezo to be my
quiero contratar al señor Balarezo como mi           attorney.
abogado.

Por favor entiéndame, señor juez. Estoy              Please understand me, Your Honor. I’m sending this
presentando esta carta y quiero rechazar a mis       letter and want to reject my attorneys because I’ve
abogados porque llevo 11 meses aquí y no están       been here 11 months and they aren’t prepared for my
preparados para mi juicio y eso me tiene             trial and that has me worried. That’s why I’m sending
preocupado. Por eso le estoy mandando esta           you this letter, Your Honor. She hasn’t done hardly
carta, señor juez. Ella no ha hecho prácticamente    anything with my case, and I need to hire another
nada con mi caso y necesito contratar a otro         attorney.
abogado.

Gracias.                                             Thank you.



Certificate of Translation:
         The English translation is, to the best of my knowledge and belief, a true and accurate translation of
 of Mr. Montes Bobadilla’s comments in Spanish on 9/10/2018 at the Alexandria Detention Center.
         I am accredited by the American Translators Association for Spanish>English translations (#435712)
 and approved by the U.S. Department of State for English>Spanish and Spanish>English translations. I also
 hold an M.A. in Spanish Translation and Interpretation from the Middlebury Institute of International Studies
 (at Monterey) and am a Federally Certified Court Interpreter (USAOC).
